       Case 1:21-cr-00078-RCL Document 12 Filed 02/15/21 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



     V.                                  Case No.: 21-cr-78 (EGS)



JOHN SULLIVAN

       NOTICE OF FILING OF INITIAL DISCOVERY REQUESTS




                                         Respectfully submitted,

                                         _______/s/_______________

                                         Steven R. Kiersh #323329
                                         5335 Wisconsin Avenue, N.W.
                                         Suite 440
                                         Washington, D.C. 20015
                                         (202) 347-0200

                     CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served, via the Court’s electronic filing system, on this the
____15th____day of February, 2021 upon all counsel of record.


                                  ______/s/____________________
                                  Steven R. Kiersh




                                     1
